Case 1:17-bk-12408-MB        Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42           Desc
                              Main Document     Page 1 of 9


      Samuel R. Maizel (SBN 189301)
      samuel.maizel@dentons.com
  2   Tania M. Moyron (SBN 235736)
      tania.moyron@dentons.com
  3   DENTONS US LLP
      601 South Figueroa Street, Suite 2500
  4   Los Angeles, California 90017-5704
      Telephone:    (213) 623-9300
  5   Facsimile:    (213) 623-9924

  6   Attorneys for Mathew A. Pliskin, as Trustee, and the
      Trust Board
  7
                               UNITED STATES BANKRUPTCY COURT
  8                             CENTRAL DISTRICT OF CALIFORNIA
                                 SAN FERNANDO VALLEY DIVISION
  9
      In re:                                         Case No. 1:17-bk-12408-MB
 10                                                  Jointly administered with:
      ICPW Liquidation Corporation, a                Case No. 1:17-bk-12409-MB
 11   California corporation,

 12             Debtor and Debtor in Possession.     Chapter 11

 13   In re:                                         NOTICE OF POST-CONFIRMATION
                                                     STATUS CONFERENCE
 14   ICPW Liquidation Corporation, a Nevada
      corporation ,2
 15                                                  Post-Confirmation Status Conference:
                Debtor and Debtor in Possession.
 16
                                                     Date:    August 28, 2018
 17                                                  Time:    1:30 p.m.
          Affects:                                   Place:   Courtroom "303"
18                                                            21041 Burbank Blvd.
           Both Debtors                                       Woodland Hills, CA
19
      E  Ironclad Performance Wear
20    Corporation, a California corporation
21       Ironclad Performance Wear
      Corporation, a Nevada corporation.
22

23

24             PLEASE TAKE NOTICE that the Court, pursuant to the Order Setting Post-
25    Confirmation Status Conference ("Order") [Docket No. 583], will conduct a post-confirmation
26    status conference on August 28, 2018, at 1:30 p.m., in Courtroom 303, of the United States
27

28    1 Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2 Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

                                                     1
      108629279\V-1
Case 1:17-bk-12408-MB       Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42           Desc
                             Main Document     Page 2 of 9


  1   Bankruptcy Court, Central District of California, 21041 Burbank Boulevard, Woodlands Hills,

  2   California. A copy of the above Order is attached hereto as Exhibit "A."

  3
      Dated: August 3, 2018                    DENTONS US LLP
  4                                            SAMUEL R. MAIZEL
                                               TANIA M. MOYRON
  5

  6                                            By: /s/Tania M Moyron
                                               Tania M. Moyron, Counsel to Mathew A. Pliskin,
  7                                            as Trustee, and the Trust Board
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                                     2
      108629279\V-1
Case 1:17-bk-12408-MB   Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42   Desc
                         Main Document     Page 3 of 9




                               EXHIBIT A
Case 1:17-bk-12408-MB            Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42                             Desc
                                  Main Document     Page 4 of 9
  Case 1:17-bk-12408-MB           Doc 583 Filed 06/19/18 Entered 06/19/18 09:53:19                     Desc
                                    Main Document Page 1 of 2



    1

    2                                                                       FILED & ENTERED
    3

    4
                                                                                  JUN 19 2018

    5                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                             Central District of California
                                                                             BY Ogler      DEPUTY CLERK
    6

    7

    8                              UNITED STATES BANKRUPTCY COURT

    9                               CENTRAL DISTRICT OF CALIFORNIA

   10                                SAN FERNANDO VALLEY DIVISION

   11 In re:                                                   Lead Case No.: 1:17-bk-12408-MB
   12                                                          Jointly administered with 1:17-bk-12409-MB
      ICPW LIQUIDATION CORPORATION,
   13 a California corporation, )                              Chapter 11

   14              Debtor and Debtor in Possession.            ORDER SETTING POST-
                                                               CONFIRMATION STATUS
  15 In re:
                                                               CONFERENCE
  16
     ICPW LIQUIDATION CORPORATION,                                  Post-Confirmation Status Conference
  17 a Nevada corporation,2
                                                              Date:     August 28, 2018
  18               Debtor and Debtor in Possession.           Time:     1:30 p.m.
  19                                                          Ctrm:     303
                                                                        21041 Burbank Blvd.
  20                                                                    Woodland Hills, CA 91367

  21

  22

  23

  24

  25

  26
        I Formerly known as Ironclad Performance Wear Corporation, a California corporation.
  27
        2 Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
  28

                          ORDER SETTING POST-CONFIRMATION STATUS CONFERENCE
Case 1:17-bk-12408-MB         Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42                      Desc
                               Main Document     Page 5 of 9
  Case 1:17-bk-12408-MB        Doc 583 Filed 06/19/18 Entered 06/19/18 09:53:19                  Desc
                                 Main Document Page 2 of 2



   1          The Court, having reviewed the record of this bankruptcy case, and with good cause

   2 appearing therefor, HEREBY ORDERS THAT:

   3          1.     The Court will conduct a post-confirmation status conference on August 28, 2018, at

   4 1:30 p.m. in Courtroom 303.

   5          2.     By no later than August 7, 2018, Matthew A. Pliskin, the trustee (the "Trustee")

   6 under the trust (the "Trust") created pursuant to the Debtors' and Official Committee of Equity

   7 Security Holders' Joint Plan of Liquidation Dated February 9, 2018 (the "Plan"), and that certain

   8 trust agreement dated as of February 28, 2018 (the "Trust Agreement"), entered into by and among

   9 the Trustee, ICPW Liquidation Corporation, a California corporation, and ICPW Liquidation

  10 Corporation, a Nevada corporation, and the Trust Board established under the Plan and Trust

  11 Agreement, April 30, 2018, must file and serve notice of the post-confirmation status conference.

  12          3.     By no later than August 14, 2018, the Trustee must file and serve a post-

  13 confirmation status report that complies with Local Bankruptcy Rule 3020-1(b) and describes what

  14 progress has been made toward consummation of the confirmed Plan.

  15          4.     Unless otherwise ordered by the Court, the Trustee must file and serve subsequent

  16 post-confirmation status reports no later than fourteen calendar days before any continued post-

  17 confirmation status conference.

  18                                                 ###

  19

  20

  21

  22

  23   Date: June 19, 2018
                                                 Martin R Barash
  24
                                                 United States Bankruptcy Judge
  25

  26

  27

  28
                                                       2
                       ORDER SETTING POST-CONFIRMATION STATUS CONFERENCE
         Case 1:17-bk-12408-MB                   Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42                                       Desc
                                                  Main Document     Page 6 of 9



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the document entitled (specify):      NOTICE OF POST-CONFIRMATION STATUS
CONFERENCE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the document will be served by the court via NEF and hyperlink to the document. On (date) August 3,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Destiny N Almogue destiny.almogue@skadden.com, candice.spoon@skadden.com
    •   Shiva D Beck sbeck@foley.com, jcharrison@foley.com
    •   Ron Bender rb@Inbyb.com
    •   Cathrine M Castaldi ccastaldi@brownrudnick.com
    •   Lisa R Chandler lisa.chandler@ipfs.com
    •   Russell Clementson russell.clementson@usdoj.gov
    •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
    •   Natalie B. Daghbandan natalie.daghbandan@bryancave.com,
          raul.morales@bryancave.com;theresa.nnacaulay@bryancave.com
    •   Steven M Gluck sgluck@juno.com
    •   Matthew A Gold courts@argopartners.net
    •   Monica Y Kim myk@Inbrb.com, myk@ecf.inforuptcy.com
    •   Jeffrey A Krieger jkrieger@ggfirm.com,
          kwoodson@greenberggluskercom;calendar@greenberggluskercomking@greenbergglusker.com
    •   Samuel R Maizel samuel.maizel@dentons.com,
          alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
          dentons.com
    •   Krikor J Meshefejian kjm@lnbrb.com
    •   Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
    •   S Margaux Ross margaux.ross@usdoj.gov
    •   Thomas C Scannell tscannell@gardere.com, acordero@gardere.com
    •   Susan K Seflin sseflin@brutzkusgubnercom
    •   Arjun Sivakumar asivakumar@brownrudnick.com
    •   Andrew T Solomon asolomon@solomoncramer.com
    •   John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
    •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
    •   Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com
    •   Douglas Wolfe dwolfe@asmcapital.com

                                                                                       ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 3, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                      E     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 3, 2018, I served the
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 1:17-bk-12408-MB                     Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42                                      Desc
                                                   Main Document     Page 7 of 9


following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                       LE] Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 3, 2018             Christina O'Meara                                                   /s/Christina O'Meara
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
       Case 1:17-bk-12408-MB                      Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42                                      Desc
                                                   Main Document     Page 8 of 9


SERVED BY U.S. MAIL:

Secured Creditor                                   Counsel to Radians Wareham                           U.S. Securities and Exchange
Radians Wareham Holding, Inc.                      Holdings                                             Commission
Attn: Mike Tutor, CEO                              E. Franklin Childress, Jr.                           Attn: Bankruptcy Counsel
5305 Distriplex Farms                              Baker, Donelson, Bearman, Caldwell                   444 South Flower Street, Suite 900
Memphis, TN 38141                                  & Berkowitz, PC                                      Los Angeles, CA 90071-9591
                                                   165 Madison Ave, Suite 2000
                                                   Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                            Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                       Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                         P.O. Box 2952                                       P.O. Box 942879
                                                    Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                        Office of Unemployment                              US Department of Justice
Bankruptcy Group MIC 92E                            Compensation Tax Services                           Office of the Attorney General of the
P.O. Box 826880                                     Department of Labor and Industry                    US
Sacramento, CA 94280-0001                           Commonwealth of Pennsylvania                        950 Pennsylvania Avenue, NW
                                                    651 Boas Street, Room 702                           Washington, DC 20530-0001
                                                    Harrisburg, PA 17121

United States Attorney's Office                     Wendi A. Horwitz                                    Office of the Attorney General
Central District of California                      Deputy Attorney General                             Consumer Law Section
312 North Spring Street, Suite 1200                 Department of Justice                               Attn: Bankruptcy Notices
Los Angeles, CA 90012                               Office of the Attorney General                      455 Golden Gate Ave., Suite 11000
                                                    300 South Spring Street, Suite 1702                 San Francisco, CA 94102
                                                    Los Angeles, CA 90013

Xavier Baccera                                      California State Board of Pharmacy                  Department of Justice
Attorney General of California                      1625 North Market Boulevard                         Office of the CA Attorney General
California Department of Justice                    Sacramento, CA 95834                                300 South Spring Street, Floor 9
1300 "I" Street                                                                                         Los Angeles, CA 90013
Sacramento, CA 95814

Kenneth Wang                                        Internal Revenue Service                            State of California Franchise Tax
Department of Justice                               300 North Los Angeles Street                        Board
Office of the CA Attorney General                   Los Angeles, CA 90012                               300 South Spring Street, #5704
300 South Spring Street                                                                                 Los Angeles, CA 90013
Los Angeles, CA 90013

Employment Development Dept.                        Internal Revenue Service                            California Secretary of State
722 Capitol Mall                                    600 Arch Street                                     1500 11th Street
Sacramento, CA 95814                                Philadelphia, PA 19101                              Sacramento, CA 95814

Securities and Exchange Commission
200 Vesey Street, #400
New York, NY 10281




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
       Case 1:17-bk-12408-MB                      Doc 590 Filed 08/03/18 Entered 08/03/18 13:26:42                                      Desc
                                                   Main Document     Page 9 of 9


Trust Board - SERVED BY EMAIL
Patrick W. O'Brien                                  Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                   1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                          Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                            Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net

Trustee - SERVED BY EMAIL
Matthew Pliskin
2718 West Terrace Drive
Tampa, Florida 33609
Email:
matthew@icpwliquidation.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
